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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEEUM §§ FH!€:= uZ
wEsTERN DIvIsIoN

    
    

EGEEFF§:;‘“#

CLEOPHUS TRIBBLE,
Plaintiff,

v.

No. 02-2949 Ml/V

MEMPHIS CITY SCHOOLS,

Defendant.

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ORDER GRANTING DEFENDANT'S AMENDED MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Defendant’s Amended Motion for Summary
Judgment, filed April 4, 2005. Plaintiff responded in opposition
on May 9, 2005.1 For the following reasons, Defendant's motion
is GRANTED.

I. BACKGROUND AND RELEVANT FACTS

The instant case arises out of Defendant Memphis City
Schools’ termination of the employment of Plaintiff Cleophus
Tribble for unsatisfactory performance. In his Complaint filed

Deoember 12, 2002, Plaintiff, who is Afrioan-American, alleges

 

l Defendant originally moved for summary judgment on
Deoember 5, 2003. On September 9, 2004, the Court entered an
order denying, without prejudice, Defendant’s Motion for Summary

Judgment because the Court had re-opened discovery. (Order
Denying Def.’s Mot. for Summ. J. as Moot, September 9, 2004
(Docket No. 2?).) The Court subsequently extended the deadline

to file dispositive motions until April 4, 2005. Defendant has
incorporated its original Motion for Summary Judgment into its
Amended Motion for Summary Judgment.

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that he was discriminated against due to his race in violation of
Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
§ 2000e, et. Seg.

Plaintiff is a retired Sergeant, First Class, from the
United States Army. He was employed as a Military Instructor for
the Memphis City Schools' Junior Reserve Officer Training Corps
(“JROTC”) program from 1994 until he was terminated at the end of
the ZOOO-Ol school year.

JROTC instructors are former military personnel that are
selected and certified by the U.S. Army to teach JROTC classes.
Each participating school has a Military Instructor and Senior
Army Instructor on-site. The JROTC program also maintains a
local headquarters in Memphis, Tennessee staffed by senior
officers including a Director of Army Instruction.

At the beginning of the 2000-01 school year, Plaintiff was
assigned to teach a JROTC class at Craigmont High School
(“Craigmont”) in Memphis, Tennessee. Beginning on August 23,
2000, Lieutenant Colonel (“Lt. Col.”) John G. Winchell was the
Director of Army Instruction for the Memphis City Schools. On
November 27, 2000, Lt. Col. Richard Olsen was assigned to be the
Senior Army Instructor at Craigmont. Lt. Col. Olsen was
Plaintiff's immediate supervisor.

While at Craigmont, Lt. Col. Olsen submitted reports to Lt.

Col. Winchell stating that:

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[Plaintiffl constantly yelled, threatened and had
little control in his classroom. He would tell me in
front of the students that they were bad kids and
little or nothing could be done with them. The
students did not respond to him well at all. In
addition, Ms. Sandra Hodge [the principal] was so
frustrated with the program and with SFC Tribble, that
she welcomed any improvement.
(Aff. of John G. Winchell (“Winchell Aff.”), Ex. A, attached as
Ex. 3 to Def.'s Amended Mot. for Summ. J.)2 Additionally,
Plaintiff and Lt. Col. Olsen had conflicts while he was an
instructor at Craigmont. On one occasion, Lt. Col. Olsen asked
Plaintiff to remove his non-military jacket from his uniform.
While discussing that incident the following day, Plaintiff
admits that he asked Lt. Col. Olsen to “stop acting like an
asshole.” (Winchell Aff. l 5; Pl.'s Jan. 13, 2004, Mem. of Law in
Resp. to Def.'s Mot. for Summ. J. at 18; Pl.'s May 9, 2005, Mem.
of Law in Resp. to Def.’s Mot. for Summ. J. at 3.)
In January of 2001, Lt. Col. Winchell transferred Plaintiff
to Kingsbury High School (“Kingsbury”).3 The Senior Army
Instructor and Plaintiff’s supervisor at Kingsbury was Captain

(“Cpt.”) Jesse Carpenter. The principal at Kingsbury was Mr.

Alex Hooker. On March l, 2001, Defendant contends that Lt. Col.

 

2 Plaintiff does not deny that such reports were made, but
disputes the truth of the reports. (Pl.'s May.9, 2005, Stmt. of

Disp. and Undisp. Mat. Facts in Opp'n to Def.’s Mot. for Summ.
J., f 6.)

3 Plaintiff contends that a Lt. Col. Zimmerman, rather than
Lt. Col. Winchell, directed Plaintiff to report to Kingsbury.

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Winchell met with Plaintiff and Cpt. Carpenter to counsel
Plaintiff regarding his job performance. Lt. Col. Winchell
memorialized this meeting in a Memorandum of Counseling.
(Winchell Aff., Ex. B.)’l The March l, 2001, memorandum
chronicles problems with Plaintiff's performance at Craigmont and
Kingsbury and concludes that it was Lt. Col. Winchell’s intent to
terminate Plaintiff. (Id.)

On March 2?, 2001, Plaintiff, Principal Hooker, and Cpt.
Carpenter met to discuss Plaintiff's conduct. After the meeting,
Principal Hooker told Cpt. Carpenter that Plaintiff would not be
allowed to teach at Kingsbury if his classroom management did not
improve.5 On May 22, 2001, Principal Hooker sent an e-mail
message to Lt. Col. Winchell requesting that Plaintiff be
reassigned. (Winchell Aff., Ex. C.) The May 22, 2001, e-mail
further chronicled Principal Hooker’s dissatisfaction with
Plaintiff's work performance at Kingsbury. It is undisputed that
Cpt. Carpenter concurred in Principal Hooker's request that
Plaintiff be reassigned.

According to his sworn affidavit, Lt. Col. Winchell
determined that Plaintiff should not be offered a teaching

contract for the following year. His decision was based upon the

 

quaintiff contends that this meeting did not take place and
that the memo is a fabrication.

5Plaintiff contends that, on March 27, 2001, Plaintiff was
informed by Cpt. Carpenter that he was being terminated.

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fact that the principals and Senior Army Instructors at two
different high schools had requested that Plaintiff be removed
from their school, along with Plaintiff's insistence that he was
doing nothing wrong and refusal to take criticism to heart during
several oral counseling sessions. (Id., l 14.) Defendant
contends that Lt. Col. Winchell met with Plaintiff in his office,
on an unspecified date, and informed him that he would not be
offered a position for the 2001-02 school year.6 (Id., l 15.) A
Department of the Army memorandum dated May lO, 2001, indicates
that Plaintiff was terminated effective June 5, 2001, for
“ineffective JROTC teaching skills.” (Pl.'s May 9, 2005, Mem. of
Law in Opp’n to Def.'s Mot. for Summ. J., Ex. l.)

Plaintiff contends that Lt. Col. Robert Stuart, who is
Caucasian, was treated more favorably than he was by Defendant
with respect to his termination. Lt. Col. Stuart was the Senior
Army Instructor at Hillcrest High School in Memphis, Tennessee
when Lt. Col. Winchell became the Director of Army Instruction in
August of 2000. Lt. Col. Winchell was his direct supervisor.
According to Lt. Col. Winchell's affidavit, Lt. Col. Stuart had

difficulty motivating his students and maintaining good order and

 

6 Lt. Col. Winchell contends that he requested that
Plaintiff resign, and told Plaintiff that if he did not, then he
would recommend that Plaintiff be terminated. According to Lt.
Col. Winchell's affidavit, Plaintiff refused to resign.
Plaintiff contends that he was not offered the opportunity to
resign.

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discipline in his classroom, but was never disrespectful or
insubordinate to him. Lt. Col. Winchell determined that Lt. Col.
Stuart could not effectively teach in the classroom and requested
that he resign, which Lt. Col. Stuart did effective January 23,
2002.

II. SUMMARY JUDGMENT STANDARD

Under Federal Rule of Civil Procedure 56(c), summary
judgment is proper "if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment
as a matter of law." Fed. R. Civ. P. 56(c); see also Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). So long as the
movant has met its initial burden of "demonstrat[ing] the absence
of a genuine issue of material fact," Celotexr 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate. Emmons v. McLauohlin, 874 F.2d 351, 353
(6th Cir. 1989). In considering a motion for summary judgment,
"the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion."
Kochins v. Linden-Alimak, lnc., 799 F.2d 1128, 1133 (6th Cir.
1986); see also Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986).

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When confronted with a properly-supported motion for summary
judgment, the nonmoving party "must set forth specific facts
showing that there is a genuine issue for trial." Fed. R. Civ.
P. 56{e); see also Abeita v. TransAmerica Mailings, Inc., 159
F.3d 246, 250 (6th Cir. 1998). A genuine issue of material fact
exists for trial "if the evidence [presented by the nonmoving
party] is such that a reasonable jury could return a verdict for
the nonmoving party." Anderson v. Liberty Lobbv, Inc., 477 U.S.
242, 248 (1986). In essence, the inquiry is "whether the
evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must
prevail as a matter of law." ld; at 251-52.

III. ANALYSIS

Plaintiff asserts a claim of race discrimination under Title
Vll of the Civil Rights Act of 1964, as amended, 28 U.S.C. 2000e
et seg; In particular, Plaintiff claims that a similarly
situated Caucasian employee was given progressive discipline and
the opportunity to resign before being terminated. Defendant has
moved for summary judgment regarding Plaintiff's claim.

Race discrimination claims are analyzed under the burden-
shifting framework set forth in McDonnell Douglas Corp. v. Green,
411 U.S. 792 (1973), and refined in Texas Dep't of Cmtv. Affairs

v. Burdine, 450 U.S. 248 (1981).

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Under this approach, a plaintiff must first establish a
prima facie case of discrimination. Burdine, 450 U.S. at 252.
Establishing a prima facie case creates a rebuttable presumption
that the employer engaged in unlawful discrimination. St. Mary’s
Honor Center v. Hicks, 509 U.S. 502, 506 {1993). Once the
plaintiff has established a prima facie case, the burden shifts
to the employer to produce a legitimate, non-discriminatory
reason for the adverse employment action. Burdine, 450 U.S. at
252-53. The burden is not onerous. An employer will satisfy its
burden as long as it articulates a valid rationale for its
decision. Hartsel v. Keys, 87 F.3d 795, 800 (6th Cir. 1996).

lf the employer meets this burden, the plaintiff may still
prevail if he shows that the reasons offered by the defendant are
a pretext for discrimination. Burdine, 450 U.S. at 253. To
prove pretext, the plaintiff must introduce admissible evidence
to show “that the proffered reason was not the true reason for
the employment decision” and that racial animus was the true
motivation driving the employer’s determination. §igks, 509 U.S.
at 508. Throughout the analysis, the ultimate burden of proof
remains with the plaintiff. ld; at 5ll.

In this case, Plaintiff contends that Lt. Col. Stuart
received more favorable treatment because he was given
progressive discipline and the opportunity to resign before being

terminated. Defendant contends that Plaintiff cannot establish a

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prima facie case of discrimination because Plaintiff and Lt. Col.
Stuart were not similarly situated, and even if they were, that
Lt. Col. Stuart was not treated more favorably than Plaintiff.
Defendant further contends that Plaintiff's poor job performance
provided a legitimate non-discriminatory reason for Plaintiff’s
termination, which Plaintiff cannot show was pretext for
discrimination. The Court will address these contentions in
turn.

A. Prima Facie Case

To establish a prima facie case of race discrimination, a
plaintiff must show that: (l) he was a member of a protected
class; (2) he suffered an adverse employment action; (3) he was
qualified for the position; and (4) he was replaced by someone
outside the protected class or was treated differently from a
similarly situated employee outside his protected class.
Warfield v. Lebanon Corr. Inst., 181 F.3d 723, 728-29 (6th Cir.
1999). Here, there is no dispute that Plaintiff was a member of
a protected class based upon his race (African-American), that he
suffered an adverse employment action (termination), and that he
was qualified for the position of JROTC instructor. The parties
dispute whether Plaintiff and Lt. Col. Stuart were similarly
situated employees and whether being denied the opportunity to

resign amounts to an adverse employment action.

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In determining whether employees are similarly situated,
“the plaintiff and the employee with whom the plaintiff seeks to
compare himself or herself must be similar in ‘all of the
relevant aspects.'” Erceqovich v. Goodvear Tire & Rubber Co., 154
F.3d 344, 352 (6th Cir. l998)(citation omitted). Therefore, in
the disciplinary context, the comparable employees outside of
Plaintiff’s protected class “must have dealt with the same
supervisor, have been subject to the same standards and have
engaged in the same conduct without such differentiating or
mitigating circumstances that would distinguish their conduct or
the employer’s treatment of them for it.” Mitchell v. Toledo
Hgsp;, 964 F.2d 577, 583 (6th Cir. 1992).

Plaintiff fails to point to sufficient evidence in the
record to create a genuine issue of material fact regarding
whether Plaintiff and Lt. Col. Stuart were similarly situated.
Although Lt. Col. Winchell did have supervisory authority over
both Plaintiff and Lt. Col. Stuart, the two employees had
different immediate supervisors.7 Moreover, Lt. Col. Stuart was

a higher ranked employee than Plaintiff.8 Further, the record

 

jPlaintiff was supervised directly by Lt. Col. Olsen at
Craigmont and by Cpt. Carpenter at Kingsbury, whereas Lt. Col.
Stuart was supervised directly by Lt. Col. Winchell.

8Lt. Col. Stuart was a Senior Army lnstructor, whereas
Plaintiff was a Military Instructor or Director of Army
Instruction, a position that is supervised by a Senior Army
lnstructor.

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reflects that Plaintiff was accused of different and more serious
misconduct than was Lt. Col. Stuart during the relevant time
frame.9

Additionally, Plaintiff fails to establish that being denied
the opportunity to resign rather than be terminated rises to the
level of an adverse employment action. In order to prove that he
has suffered an adverse employment action, a plaintiff must show
that he suffered "a materially adverse change in the terms of
{hisl employment." White v. Burlington Northern & Santa Fe R.R.

Co., 364 F.3d 789, 797 (6th Cir. 2004)(citing Kocsis v. Multi-

 

Care Management, Inc., 97 F.3d 876, 885-87 (6th Cir. 1996)). A
“mere inconvenience or an alteration of job responsibilities” or
a “bruised ego” is not enough to constitute an adverse employment
action. ld; (citations omitted). Even assuming that Lt. Col.

Stuart, but not Plaintiff, was offered the opportunity to resign

 

9 Both employees were accused of being unable to properly
discipline and motivate their students, however, Plaintiff was
also alleged to have been insubordinate to his supervisors and to
have yelled at and threatened his students during the 2000-01
school year. Additionally, unlike Lt. Col. Stuart, the
principals and two Senior Army Instructors from two different
high schools asked for Plaintiff's reassignment or termination
during that school year. Although there is evidence in the
record that Lt. Col. Stuart had been insubordinate to previous
supervisors and had engaged in inappropriate conduct while he was
an instructor at Hamilton High School in 1999, that conduct
occurred well before his resignation, did not involve Lt. Col.
Winchell, and was not cited by Lt. Col Winchell as a reason for
requesting his resignation. (Pl.'s Jan. 13, 2004, Mem. of Law in
Opp'n to Def.'s Mot. for Summ. J. at 7, Exs. 9-12; Aff. of John
G. Winchell, 77 16-18.)

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rather than be terminated, the denial of such an opportunity does
not amount to a materially adverse change in the terms of
Plaintiff's employment.10 Accordingly, Plaintiff has failed to
establish a prima facie case of race discrimination.

B. Legitimate Non-Discriminatory Reason

Even assuming that Plaintiff could establish a prima facie
case of discrimination, however, Defendant has articulated a
legitimate non-discriminatory reason for terminating Plaintiff.
Specifical1y, Defendant has set forth evidence showing that
Plaintiff was terminated due to poor teaching performance and
complaints from his current and previous supervisors.
Accordingly, Plaintiff can only prevail if he shows that
Defendant's proffered reason was a pretext for discrimination.

To prove pretext, Plaintiff must show: (1) that the
employer’s reasons for his termination had no basis in fact; (2)
that the employer's proffered reason did not actually motivate
the decision; or (3) that the employer’s reasons were

insufficient to motivate the decision. Manzer v. Diamond

 

Shamrock Chem. Co., 29 F.3d 1078, 1084 (6th Cir. 1994).

Plaintiff fails to meet this burden. lt is undisputed that the

 

m Plaintiff also contends that he was given less
progressive discipline than Lt. Col. Stuart. However, the
disciplinary warnings received by Lt. Col. Stuart relate to
conduct which occurred before the 2000-01 school year, the period
relevant to Plaintiff's claims. (See Pl.'s May 9, 2005, Mem. of
Law in Resp. to Def.’s Mot. for Summ. J. at 10, Exs. 4-6.)

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principals and Senior Army Instructors at Craigmont and Kingsbury
requested either his reassignment or termination. Accordingly,
Defendant's decision to terminate Plaintiff had a basis in fact.
Moreover, Plaintiff has not shown that his conduct did not
actually motivate or was insufficient to motivate Defendant’s
decision to terminate him.

Although Plaintiff denies that he engaged in some of the
conduct alleged by Defendant, the honest belief rule favors
Defendant. As adopted by the Sixth Circuitr the honest belief
rule provides that “as long as an employer has an honest belief
in its proffered nondiscriminatory reason for discharging an
employee, the employee cannot establish that the reason was
pretextual simply because it is ultimately shown to be
incorrect.” Majewski v. Automatic Data Processing, 274 F.3d
1106, 1117 (6th Cir. 2001)(emphasis added}(citation omitted).
“An employer has an honest belief in its reason for discharging
an employee where the employer reasonably relied on the
particularized facts that were before it at the time the decision
was made." ld; (citation omitted).

The record shows that Defendant based its decision to
terminate Plaintiff on the complaints received from previous
principals and Senior Army Instructors and Plaintiff's
unwillingness to accept criticism. Therefore, Defendant's non-

discriminatory reason was predicated on an honest belief that

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Plaintiff was not adequately performing his teaching duties.11
Accordingly, the Court finds that no genuine issues of material
fact exist and therefore summary judgment is GRANTED regarding
Plaintiff's claim for race discrimination.

IV. CONCLUSION

For the foregoing reasons, Defendant's Motion for Summary

Judgment is GRANTED and Plaintiff's case is DISMISSED.

So ORDERED this iq th day of May, 2005.

mt ill

J N P. MCCALLA
ITED STATES DISTRICT JUDGE

 

 

n Plaintiff points to evidence in the record to show that
his job performance was satisfactory prior to the 2000-01 school
year. However, Plaintiff fails to point to any evidence in the
record to indicate that he was terminated for any behavior that
occurred prior to the 2000-01 school year. Rather, the
undisputed evidence indicates that Plaintiff was terminated due
to his performance during the 2000-01 school year. Accordingly,
the evidence of good performance prior to the 2000-01 school year
to which Plaintiff points is not material to his claim.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:02-CV-02949 Was distributed by fax, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

